Case 3:12-cv-00954-HES-JRK Document 76 Filed 01/20/15 Page 1 of 6 PageID 1844



                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                               JACKSONVILLE DIVISION

NICK MOGENSEN, Individually and on Behalf
                                     )                  Case No.: 3:12-cv-00954-HES-JRK
of All Others Similarly Situated,    )
                                     )                  CLASS ACTION
           Plaintiff,                )
                                     )
     v.                              )
                                     )
BODY CENTRAL CORPORATION, B. ALLEN )
WEINSTEIN, THOMAS STOLTZ and BETH R. )
ANGELO                               )
                                     )
           Defendants.               )
                                     )
                                     )
         NOTICE OF PENDING ASSIGNMENT FOR BENEFIT OF CREDITORS

         The undersigned represents Mark C. Healy (the "Assignee") in the assignment for the

benefit of creditors of Defendant, Body Central Corp., styled as: Body Central Corp., Assignor,

to Mark C. Healy, Assignee; In the Circuit Court, Fourth Judicial Circuit, In and For Duval

County, Florida; Case No.: 16-2015-CA-000213-XXXX-MA, Division: CV-F. A copy of the

Notice of Assignment is attached hereto as Exhibit A.

         While the stay imposed pursuant to § 727.105, Florida Statutes, applies to parties seeking

to assert a claim against Body Central Corp., the Assignee has been advised of Body Central

Corp.'s pending settlement in this case by counsel for Body Central Corp. and does not oppose

this Court's approval of Body Central Corp.'s pending settlement in this case at the hearing

scheduled on January 21, 2015, or oppose distribution of the previously-escrowed settlement

funds pursuant to order of this Court.




{30206895;2}
Case 3:12-cv-00954-HES-JRK Document 76 Filed 01/20/15 Page 2 of 6 PageID 1845



Dated: January 20, 2015.                    AKERMAN LLP


                                            By: /s/ Jacob A. Brown
                                               Jacob A. Brown
                                               Florida Bar No.: 0170038
                                               Email: jacob.brown@akerman.com
                                               Katherine C. Fackler
                                               Florida Bar No.: 0068549
                                               Email: katherine.fackler@akerman.com
                                               50 North Laura Street, Suite 3100
                                               Jacksonville, FL 32202
                                               Telephone: (904) 798-3700
                                               Facsimile: (904) 798-3730

                                            Attorneys for Mark C. Healy, Assignee



                                CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on January 20, 2015, I electronically filed the foregoing with

the Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing

to the following: David J. George, Paul J. Geller, Robert Jeffrey Robbins, Kathleen Lee Barber,

Holly Kimmel, Robbins Geller Rudman & Dowd, LLP , Suite 500, 120 E Palmetto Pk Rd, Boca

Raton, FL 33432; Francis A. Bottini, Jr., Bottini & Bottini, Inc., 7817 Ivanhoe Ave., Suite 102,

La Jolla, CA 92037; Charles B. Lembcke, Charles B. Lembcke, P.A., 1300 Riverplace Blvd.,

Suite 605, Jacksonville, FL 32207-9018; and Steven M. Schatz, Jerome F. Birn, Jr., Kelley M.

Kinney, and Brian Danitz, Wilson, Sonsini, Goodrich & Rosati, PC, 650 Page Mill Road, Palo

Alto, CA 94304-1050.

                                            /s/ Jacob A. Brown
                                            Attorney




{30206895;2}                                   2
         Case 3:12-cv-00954-HES-JRK
Filing # 22660732                     DocumentPM
                  E-Filed 01/16/2015 03:04:42  76 Filed 01/20/15 Page 3 of 6 PageID 1846



         IN THE CIRCUIT COURT, FOURTH
         JUDICIAL CIRCUIT, IN AND FOR
         DUVAL COUNTY, FLORIDA

         CASE NO.: 16-2015-CA-000213-XXXX-MA

         DIVISION: CV-F

         BODY CENTRAL CORP.,

                        Assignor,
                                                         NOTICE OF ASSIGNMENT
         To:

         MARK C. HEALY,

                     Assignee.
         _______________________________/

         CASE NO.: 16-2015-CA-000214-XXXX-MA

         DIVISION: CV-A

         BODY CENTRAL STORES, INC.,

                        Assignor,

         To:

         MARK C. HEALY,

                     Assignee.
         _______________________________/

         CASE NO.: 16-2015-CA-000215-XXXX-MA

         DIVISION: CV-D

         BODY CENTRAL SERVICES, INC.,

                        Assignor,

         To:

         MARK C. HEALY,

                     Assignee.
         _______________________________/

         {30185567;2}

                                            Exhibit A
Case 3:12-cv-00954-HES-JRK Document 76 Filed 01/20/15 Page 4 of 6 PageID 1847



CASE NO.: 16-2015-CA-000217-XXXX-MA

DIVISION: CV-A

BODY CENTRAL DIRECT, INC.,

               Assignor,

To:

MARK C. HEALY,

            Assignee.
_______________________________/

                                NOTICE OF ASSIGNMENT

         TO ALL CREDITORS AND OTHER INTERESTED PARTIES:

         PLEASE TAKE NOTICE that four separate Petitions commencing four Assignments

for the Benefit of Creditors, pursuant to Chapter 727, Florida Statutes, made by Body Central

Corp., Body Central Stores, Inc., Body Central Direct, Inc., and Body Central Services, Inc., as

Assignor, each with its place of business at 6225 Powers Avenue, Jacksonville, Florida 32217, to

Mark C. Healy, assignee, whose principal offices are located at Michael Moecker & Associates,

Inc., 3613 North 29th Avenue, Hollywood, Florida 33020, were filed on January 14, 2015.

         YOU ARE HEREBY further notified that in order to receive any dividend in these

proceedings you must file a proof of claim, a copy of which is attached hereto, on the Assignee

or his attorney on or before Monday, May 11, 2015.

         I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished

this 16th day of January, 2015, by first-class United States mail, to: (1) Body Central Corp., a

Delaware corporation, at its place of business at: 6225 Powers Avenue, Jacksonville, Florida

32217 and to its registered agent, CT Corporation System, 1200 South Pine Island Road,

Plantation, Florida 33324; (2) Body Central Stores, Inc., a Florida corporation, at its place of

business at: 6225 Powers Avenue, Jacksonville, Florida 32217 and to its registered agent, CT

{30185567;2}                                   2
                                        Exhibit A
Case 3:12-cv-00954-HES-JRK Document 76 Filed 01/20/15 Page 5 of 6 PageID 1848



Corporation System, 1200 South Pine Island Road, Plantation, Florida 33324; (3) Body Central

Direct, Inc., a Florida corporation, at its place of business at: 6225 Powers Avenue, Jacksonville,

Florida 32217 and to its registered agent, CT Corporation System, 1200 South Pine Island Road,

Plantation, Florida 33324; (4) Body Central Services, Inc., a Florida corporation, at its place of

business at: 6225 Powers Avenue, Jacksonville, Florida 32217 and to its registered agent, CT

Corporation System, 1200 South Pine Island Road, Plantation, Florida 33324; and (5) Mark C.

Healy, assignee, whose address is 3613 North 29th Avenue, Hollywood, Florida 33020. Mark C.

Healy, Assignee, shall furnish copies of the foregoing to all creditors and interested parties

identified in the Petitions, and a certificate of service by the Assignee will be filed with the Clerk

of Court.

Dated: January 16, 2015.               AKERMAN LLP

                                       By: /s/ Jacob A. Brown
                                          Jacob A. Brown
                                          Florida Bar No. 0170038
                                          Primary Email: jacob.brown@akerman.com
                                          Secondary Email: leilani.caylao@akerman.com
                                          Secondary Email: jennifer.meehan@akerman.com
                                          Katherine C. Fackler
                                          Florida Bar No. 0068549
                                          Primary Email: katherine.fackler@akerman.com
                                          Secondary Email: leilani.caylao@akerman.com
                                          Secondary Email: jennifer.meehan@akerman.com
                                          50 North Laura Street, Suite 3100
                                          Jacksonville, Florida 32202
                                          Telephone: (904) 798-3700
                                          Facsimile: (904) 798-3730


                                       Attorneys for Mark C. Healy, Assignee




{30185567;2}                                      3
                                           Exhibit A
               IN THE CIRCUIT COURT OF THE FOURTH JUDICIAL CIRCUIT,
      Case 3:12-cv-00954-HES-JRK Document 76 Filed 01/20/15 Page 6 of 6 PageID 1849
                          IN AND FOR DUVAL COUNTY, FLORIDA

In Re:

Check the box below for the entity/entities which this claim is being asserted against:

         []    BODY CENTRAL CORP.,
         []    BODY CENTRAL STORES, INC.,
         []    BODY CENTRAL DIRECT, INC.,
         []    BODY CENTRAL SERVICES, INC.,

                          Assignor,                           Case No.: 16-2015-CA-000213-XXXX-MA

To:
         MARK C. HEALY,

                          Assignee,
                                                               /
                                                PROOF OF CLAIM
 TO RECEIVE ANY DIVIDEND IN THIS PROCEEDING, YOU MUST COMPLETE THIS PROOF OF CLAIM AND DELIVER IT TO
                                     THE ASSIGNEE NO LATER THAN:
                                                    MAY 11, 2015
                                  THE ASSIGNEE’S NAME AND ADDRESS ARE AS FOLLOWS:
                                                     Mark Healy, Assignee
                                         MICHAEL MOECKER & ASSOCIATES, INC.
                                                    3613 North 29th Avenue
                                                     Hollywood, FL 33020
                                          (954) 252-1560 · (954) 252-2791 Fax No.
                                                bodycentralinfo@Moecker.com
1.       CREDITOR NAME (Your name):
         ADDRESS:

         TELEPHONE NUMBER:
         E-MAIL ADDRESS:                                      ____________________________________
                                                              Please be sure to notify us if you have a change of address.

2.       BASIS FOR CLAIM:
         [ ] Goods Sold                     [ ] Wages, Salaries and Compensations         [ ] Secured Creditor
         [ ] Services Performed             [ ] Taxes
         [ ] Money Loaned                   [ ] Customer Deposit
         [ ] Shareholder                    [ ] Other:

3.       DATE DEBT WAS INCURRED:

4.       AMOUNT OF CLAIM:                            $

5.      SUPPORTING DOCUMENTS: Attach copies of supporting documents, such as promissory notes,
purchase order, invoices, itemized statement of running accounts, court judgments, or evidence of security interests. If the
documents are not available, explain. If the documents are voluminous, attach a summary.

6.       SIGNATURE: Sign and print name and title, if any, of the creditor or other person authorized to file this claim:

DATED:                                               BY:
                                                       Signature of Claimant or Representative


                                                         Print Name and Title Here
{30191002;1}

                                                       Exhibit A
